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    /$:2)),&(62).(11(7+/%$80                                           Order Filed on May 22, 2019 by
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    Proposed Counsel to Debtors and Debtors-in-
    Possession

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        DATED: May 22, 2019
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              3XUFKDVHU D FRQWLQXLQJ /LHQ RQ WKH &ROODWHUDO ZLWK WKH H[FHSWLRQ RI DQ\ SURSHUW\

              RZQHGE\RUSOHGJHGWR7RWDO:DUHKRXVH,QFRU0HUFHGHV%HQ])LQDQFLDO6HUYLFHV

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          %   Debtor in Possession7KH'HEWRUVDUHFRQWLQXLQJLQWKHPDQDJHPHQWDQGRSHUDWLRQ

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          '   Committee Formation7KH2IILFHRIWKH8QLWHG6WDWHV7UXVWHHIRUWKH'LVWULFWRI

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&DVHV

          (   Findings Regarding the Sale of Accounts and Incurring Postpetition Debt




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SXUFKDVLQJ DQGKROGLQJ VXFKULJKW WLWOH DQGLQWHUHVW DVVROHDQGDEVROXWH RZQHURIWKH (OLJLEOH

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         LL     Further Interim Hearing $W WKH )XUWKHU ,QWHULP +HDULQJ WKH 'HEWRUV ZLOO VHHN

IXUWKHULQWHULPDSSURYDORIWKH0RWLRQSXUVXDQWWRDSURSRVHG)XUWKHU,QWHULP2UGHUZKLFKVKDOO

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         LLL    Continued Need for Sale of Accounts and Incurring Postpetition Debt7KH'HEWRUV

QHHGWRFRQWLQXHWRVHOOLWV(OLJLEOH$FFRXQWVSXUVXDQWWRWKHWHUPVDQGFRQGLWLRQVRIWKH10&

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PDLQWDLQ EXVLQHVV UHODWLRQVKLSV SD\ HPSOR\HHV SURWHFW WKH YDOXH RI WKHLU DVVHWV DQG RWKHUZLVH

ILQDQFHWKHLURSHUDWLRQVUHTXLUHVWKHFRQWLQXHGDYDLODELOLW\RIIXQGLQJXQGHUWKH10&)DFWRULQJ

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)LQDQFLQJ$JUHHPHQW

         LY    No Credit Available on More Favorable Terms *LYHQ WKHLU FXUUHQW ILQDQFLDO

FRQGLWLRQ DQG FDSLWDO VWUXFWXUH WKH 'HEWRUV DUH XQDEOH WR REWDLQ SRVWSHWLWLRQ ILQDQFLQJ IURP

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&RGH6HFWLRQV D DQG E DQG E  DVDQDGPLQLVWUDWLYHH[SHQVH7KH'HEWRUVKDYHDOVR

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VSHFLILHGLQVHFWLRQV E  D DQG E RIWKH%DQNUXSWF\&RGH E VHFXUHGE\DOLHQRQ

SURSHUW\RIWKH'HEWRUVDQGWKHLUHVWDWHVWKDWLVQRWRWKHUZLVHVXEMHFWWRDOLHQRU F VHFXUHGVROHO\

E\DMXQLRUOLHQRQSURSHUW\RIWKH'HEWRUVDQGWKHLUHVWDWHVWKDWLVVXEMHFWWRDOLHQ7KH'HEWRUV¶

VDOHRIWKHLU(OLJLEOH$FFRXQWVZLWKRXWUHFRXUVHLVQRWRWKHUZLVHDYDLODEOH

         Y     Use of Proceeds $V D FRQGLWLRQ WR 3XUFKDVHU DJUHHLQJ WR SHUPLW WKH 'HEWRUV WR

FRQWLQXHWRILQDQFHWKHLURSHUDWLRQVXQGHUWKH10&)DFWRULQJ$JUHHPHQW3XUFKDVHUUHTXLUHVDQG

WKH'HEWRUVKDYHDJUHHGWKDWSURFHHGVRI3XUFKDVHU¶VSXUFKDVHRI(OLJLEOH$FFRXQWVVKDOOFRQWLQXH

WREHXVHGLQDFFRUGDQFHZLWKWKHWHUPVRIWKH10&)DFWRULQJ$JUHHPHQWDQGWKHEXGJHW DVWKH

VDPHPD\EHVXSSOHPHQWHGXSGDWHGUHYLVHGDQGPRGLILHGIURPWLPHWRWLPHLQHDFKLQVWDQFH

ZLWK3XUFKDVHU¶VSULRUZULWWHQFRQVHQWWKH³%XGJHW´DFRS\RIZKLFKLVDWWDFKHGDV([KLELW%

KHUHWR VROHO\IRU L WKHSD\PHQWRISRVWSHWLWLRQRSHUDWLQJH[SHQVHVDQGRWKHUZRUNLQJ

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FDSLWDO LL WKHSD\PHQWRIFHUWDLQIHHVDQGH[SHQVHVGXHWR3XUFKDVHU LLL SHUPLWWHGSD\PHQWRI

FRVWVRIDGPLQLVWUDWLRQRIWKH&DVHVLQFOXGLQJSURIHVVLRQDOIHHVDQGIHHVSD\DEOHWRWKH2IILFHRI

WKH8QLWHG6WDWHV7UXVWHHDVDQGWRWKHH[WHQWSURYLGHGIRULQWKH%XGJHWDQG LY RWKHUZLVHLQ

DFFRUGDQFHZLWKWKH10&)DFWRULQJ$JUHHPHQW

         )   Bankruptcy Code Sections 506(c) and 552(b)   3XUFKDVHU KDV GHPDQGHG DQG

'HEWRUVVXEPLWWKDW3XUFKVDHULVHQWLWOHGWRDZDLYHURI D WKHSURYLVLRQVRIVHFWLRQ F RIWKH

%DQNUXSWF\&RGHDQG E DQ\³HTXLWLHVRIWKHFDVH´FODLPVXQGHUVHFWLRQ E RIWKH%DQNUXSWF\

&RGH

         *   Good Faith of Purchaser

                L     Willingness to Purchase Eligible Accounts  3XUFKDVHU KDV LQGLFDWHG D

ZLOOLQJQHVVWRFRQWLQXHSXUFKDVLQJ(OLJLEOH$FFRXQWVIURPWKH'HEWRUVRQDVHFXUHGZLWKUHFRXUVH

EDVLVVXEMHFWWRWKHHQWU\RIWKLV,QWHULP2UGHULQFOXGLQJWKHILQGLQJVFRQWDLQHGKHUHLQWKDWWKH

10&)DFWRULQJ$JUHHPHQWDQGWKHIDFLOLW\SURYLGHGIRUWKHUHE\LVHVVHQWLDOWRWKH'HEWRUV¶HVWDWHV

WKDW3XUFKDVHUKDVSURYLGHGWKHWHUPVVHWIRUWKLQWKH10&)DFWRULQJ$JUHHPHQWLQJRRGIDLWK

DQGWKDWWKHULJKWVDQGLQWHUHVWVEHLQJSURYLGHGWR3XUFKDVHUXQGHUWKH10&)DFWRULQJ$JUHHPHQW

ZLOOKDYHWKHSURWHFWLRQVSURYLGHGLQ%DQNUXSWF\&RGH6HFWLRQ H DQGZLOOQRWEHDIIHFWHGE\

DQ\VXEVHTXHQWUHYHUVDOPRGLILFDWLRQYDFDWXUDPHQGPHQWUHDUJXPHQWRUUHFRQVLGHUDWLRQRIWKLV

,QWHULP2UGHUWKH)XUWKHU,QWHULP2UGHURUDQ\RWKHURUGHU

                LL    Business Judgment and Good Faith Pursuant to Section 364(e)7KHWHUPV

DQGFRQGLWLRQVRIWKH10&)DFWRULQJ$JUHHPHQWZKLFKZHUHSUHYLRXVO\DSSURYHGE\WKLV&RXUW

LQWKH'HEWRUVSULRUYROXQWDU\FKDSWHUFDVHV D DUHIDLUUHDVRQDEOHDQGWKHEHVWDYDLODEOHWR

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FRQVLVWHQWZLWKWKHLUILGXFLDU\GXWLHVDQG F DUHVXSSRUWHGE\UHDVRQDEO\HTXLYDOHQWYDOXHDQG

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OHQJWK DPRQJ WKH 'HEWRUV DQG 3XUFKDVHU  $FFRXQWV SXUFKDVHG E\ 3XUFKDVHU DQG 2EOLJDWLRQV

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$JUHHPHQWDQGWKLV,QWHULP2UGHUVKDOODOOEHGHHPHGWREHGRQHLQ JRRGIDLWK $FFRUGLQJO\

3XUFKDVHULVWKHUHIRUHHQWLWOHGWRWKHSURWHFWLRQDQGEHQHILWVRI%DQNUXSWF\&RGH6HFWLRQ H 

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0RWLRQKDVEHHQSURYLGHGE\WKH'HEWRUVWR1RUWK0LOO&DSLWDO//&¶VFRXQVHOFRXQVHOWRWKH

3HWLWLRQLQJ&UHGLWRUVWKH2IILFHRIWKH8QLWHG6WDWHV7UXVWHHDQ\DGGLWLRQDOVHFXUHGSDUWLHVDQG

DOOSHUVRQVRUHQWLWLHVWKDWKDYHUHTXHVWHGQRWLFHLQWKH,QYROXQWDU\&KDSWHU&DVHVZKHWKHUE\

HPDLOIDFVLPLOHRYHUQLJKWFRXULHURUKDQGGHOLYHU\7KH'HEWRUVKDYHPDGHUHDVRQDEOHHIIRUWVWR

DIIRUGWKHEHVWQRWLFHRIWKH,QWHULP+HDULQJSRVVLEOHXQGHUWKHFLUFXPVWDQFHVDQGVXFKQRWLFHLV

JRRG DQG VXIILFLHQW WR SHUPLW WKH LQWHULP UHOLHI VHW IRUWK LQ WKLV ,QWHULP 2UGHU DQG QR RWKHU RU

IXUWKHUQRWLFHLVRUVKDOOEHUHTXLUHG

        %DVHGXSRQWKHIRUHJRLQJILQGLQJVDQGFRQFOXVLRQVWKH0RWLRQDQGWKHUHFRUGEHIRUHWKH

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DSSURYHG7KH'HEWRUVDUHDXWKRUL]HGWRFRQWLQXHWRSHUIRUPLQFXUDQGXQGHUWDNHDOOREOLJDWLRQV

 LQFOXGLQJ WKH 2EOLJDWLRQV  VHW IRUWK LQ WKH 10& )DFWRULQJ $JUHHPHQW LQ DFFRUGDQFH ZLWK WKH

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              2EMHFWLRQV2YHUUXOHG$OOREMHFWLRQVWRWKH0RWLRQWRWKHH[WHQWQRWZLWKGUDZQRU

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             $XWKRUL]DWLRQRIWKH10&)DFWRULQJ$JUHHPHQW7KH10&)DFWRULQJ$JUHHPHQW

VKDOOUHSUHVHQWDYDOLGDQGELQGLQJDJUHHPHQWHQIRUFHDEOHDJDLQVWWKH'HEWRUVDQGWKHLUHVWDWHVLQ

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RIWKH10&)DFWRULQJ$JUHHPHQWDQGWKLV,QWHULP2UGHUXQWLOWKHHDUOLHVWWRRFFXURIWKHHQWU\RI

WKH)XUWKHU,QWHULP2UGHURUWKHWHUPLQDWLRQRIWKH10&)DFWRULQJ$JUHHPHQWSXUVXDQWWRLWVWHUPV

DQGFRQGLWLRQVWKH'HEWRUVDUHKHUHE\DXWKRUL]HGWR FRQWLQXHWRVHOOWKHLU(OLJLEOH$FFRXQWVWR

3XUFKDVHULQDFFRUGDQFHZLWKWKHWHUPVRIWKH10&)DFWRULQJ$JUHHPHQWVRORQJDVDWWKHWLPHRI

VXFKSXUFKDVHWKHDJJUHJDWHXQSDLGEDODQFHRIWKH$FFRXQWVEHIRUHDQGDIWHUVXFKSXUFKDVHSOXV

WKH SULQFLSDO DPRXQW RXWVWDQGLQJ XQGHU DQ\ SURPLVVRU\ QRWHV H[HFXWHG E\ 'HEWRUV LQ IDYRU RI

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)DFWRULQJ$JUHHPHQW ZLWKRXWUHVSHFWWRWKHGDWHVXFK2EOLJDWLRQVZHUHLQFXUUHG DQGWKLV,QWHULP

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$JUHHPHQWDQGWKLV,QWHULP2UGHUDQGVKDOOUHSUHVHQWYDOLGDQGELQGLQJ2EOLJDWLRQVRIWKH'HEWRUV

HQIRUFHDEOH DJDLQVW WKH 'HEWRUV WKHLU HVWDWHV DQG DQ\ VXFFHVVRUV WKHUHWR LQFOXGLQJ ZLWKRXW

OLPLWDWLRQ DQ\ WUXVWHH RU RWKHU HVWDWH UHSUHVHQWDWLYH DSSRLQWHG LQ WKH &DVHV RU DQ\ FDVH XQGHU

&KDSWHURIWKH%DQNUXSWF\&RGHXSRQWKHFRQYHUVLRQRIWKH&DVHV RUHLWKHU&DVH  D³6XFFHVVRU

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)LQDQFLDO6HUYLFHV86$//& ZKLFK/LHQVKDOOEHDQGKHUHE\LVGHHPHGLPPHGLDWHFRQWLQXLQJ

YDOLG ELQGLQJ HQIRUFHDEOH QRQDYRLGDEOH DQG SURSHUO\ SHUIHFWHG  2WKHU WKDQ ZLWK UHVSHFW WR

SURSHUW\RZQHGE\RUSOHGJHGWR7RWDO:DUHKRXVH,QFRU0HUFHGHV%HQ])LQDQFLDO6HUYLFHV86$

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//&WKH/LHQLVQRWDQGVKDOOQRWRWKHUZLVHEHRUPDGHVXEMHFWWRRUpari passuZLWKDQ\RWKHU

OLHQRUVHFXULW\LQWHUHVWKHUHWRIRUHRUKHUHDIWHUJUDQWHGLQWKH&DVHVRUDQ\6XFFHVVRU&DVHZLWK

UHVSHFWWRDQ\RIWKH&ROODWHUDO7KH/LHQLVYDOLGDQGHQIRUFHDEOHLQFOXGLQJEXWQRWOLPLWHGWR

DJDLQVWDQ\WUXVWHHRURWKHUHVWDWHUHSUHVHQWDWLYHDSSRLQWHGLQWKH&DVHVRUDQ\6XFFHVVRU&DVHDQG

VKDOOQRWEHVXEMHFWWRFKDOOHQJHXQGHU%DQNUXSWF\&RGH6HFWLRQVRU 1ROLHQRU

LQWHUHVWDYRLGHGDQGSUHVHUYHGIRUWKHEHQHILWRIWKH'HEWRUV¶HVWDWHVSXUVXDQWWR%DQNUXSWF\&RGH

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DQDOORZHGVXSHUSULRULW\DGPLQLVWUDWLYHH[SHQVHFODLPLQWKH&DVHVZLWKUHVSHFWWRWKH2EOLJDWLRQV

 ³6XSHUSULRULW\$GPLQLVWUDWLYH([SHQVH&ODLP´ ZKLFK6XSHUSULRULW\$GPLQLVWUDWLYH([SHQVH

&ODLP VKDOO EH DQG KHUHE\ LV GHHPHG LPPHGLDWH FRQWLQXLQJ YDOLG ELQGLQJ HQIRUFHDEOH QRQ

DYRLGDEOHDQGQRWVXEMHFWWRREMHFWLRQDQGVKDOOEHVHQLRUWRDQ\H[LVWLQJDQGIXWXUHDGPLQLVWUDWLYH

H[SHQVHRIDQ\NLQGDQGQDWXUHDULVLQJXQGHURUSXUVXDQWWRDQ\VWDWXWH LQFOXGLQJEXWQRWOLPLWHG

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RUGHU LQFOXGLQJEXWQRWOLPLWHGWRDOORUGHUVSUHYLRXVO\HQWHUHGDQGVXEVHTXHQWO\HQWHUHGLQWKLV

&DVHVRUDQ\6XFFHVVRU&DVH RURWKHUZLVH 7KH6XSHUSULRULW\$GPLQLVWUDWLYH([SHQVH&ODLP

VKDOOEHDW DOOWLPHVVHQLRUDQGILUVW LQ SULRULW\ ZLWKUHVSHFW WR DOORWKHUDGPLQLVWUDWLYHH[SHQVH

FODLPV LQ WKH &DVHV ZLWK WKH VROH H[FHSWLRQ RI IHHV SD\DEOH WR WKH 2IILFH RI WKH 8QLWHG 6WDWHV

7UXVWHH2WKHUWKDQDVH[SUHVVO\VHWIRUWKKHUHLQWRWKHFRQWUDU\DWQRWLPHVKDOOWKH6XSHUSULRULW\

$GPLQLVWUDWLYH([SHQVH&ODLPEHRUPDGHVXEMHFWWRRUpari passuZLWKDQ\RWKHUDGPLQLVWUDWLYH

H[SHQVHRUXQVHFXUHGFODLPQRZH[LVWLQJRUKHUHDIWHUDULVLQJLQWKH&DVHVRUDQ\6XFFHVVRU&DVH

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3XUFKDVHUVKDOOSXUFKDVHRQO\VXFK$FFRXQWVDV3XUFKDVHUPD\VHOHFWDQGDSSURYHLQLWVVROHDQG

DEVROXWHGLVFUHWLRQ3XUFKDVHUVKDOOQRWKDYHDQ\OLDELOLW\WRWKH'HEWRUVRUDQ\RIWKHLUFXVWRPHUV

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             8VHRI10&)DFWRULQJ$JUHHPHQW3URFHHGV7KH'HEWRUVVKDOOXVHWKHSURFHHGV

IURPWKH3XUFKDVHU¶VSRVWSHWLWLRQSXUFKDVHRI$FFRXQWVRQO\IRUWKHSXUSRVHVVSHFLILFDOO\VHWIRUWK

LQWKH10&)DFWRULQJ$JUHHPHQWDQGWKLV,QWHULP2UGHUDQGLQFRPSOLDQFHZLWKWKH%XGJHW

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XSGDWHRIWKH%XGJHWVKDOOEHLQIRUPDQGVXEVWDQFHUHDVRQDEO\DFFHSWDEOHWRDQGDSSURYHGLQ

DGYDQFHE\3XUFKDVHULQLWVUHDVRQDEOHGLVFUHWLRQ7KH%XGJHWPD\EHDPHQGHGRUPRGLILHGLQ

ZULWLQJIURPWLPHWRWLPHRQO\ZLWKWKHZULWWHQFRQVHQWRI3XUFKDVHULQLWVUHDVRQDEOHGLVFUHWLRQ

7KH'HEWRUVVKDOOXSGDWHWKH%XGJHWIURPWLPHWRWLPH SURYLGHGWKDWDQ\XSGDWHVKDOOEHLQIRUP

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)DFWRULQJ$JUHHPHQWDQGVKDOOSURYLGHVXFK%XGJHWXSGDWHVWR3XUFKDVHULQDFFRUGDQFHZLWKWKH

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WR D SHUPLWWKH'HEWRUVWRJUDQWWKH/LHQDJDLQVWWKH&ROODWHUDODQGSHUPLW3XUFKDVHUWRWDNHDOO

VWHSVLWGHHPVQHFHVVDU\WRSHUIHFWVXFK/LHQ E DXWKRUL]HWKH'HEWRUVWRSD\DQG3XUFKDVHUWR

UHWDLQDQGDSSO\SD\PHQWVPDGHLQDFFRUGDQFHZLWKWKLV,QWHULP2UGHUDQGWKH10&)DFWRULQJ



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$JUHHPHQWDQG F DXWKRUL]H3XUFKDVHUWRH[HUFLVHLWVULJKWVZLWKUHVSHFWWRWKH&ROODWHUDODQGLQ

DFFRUGDQFHZLWKWKH10&)DFWRULQJ$JUHHPHQW

            $XWRPDWLF3HUIHFWLRQRI/LHQ7KLV,QWHULP2UGHUVKDOOEHVXIILFLHQWDQGFRQFOXVLYH

HYLGHQFH RI WKH YDOLGLW\ SHUIHFWLRQ DQG SULRULW\ RI WKH /LHQ DJDLQVW WKH &ROODWHUDO ZLWKRXW WKH

QHFHVVLW\RIILOLQJRUUHFRUGLQJDQ\ILQDQFLQJVWDWHPHQWPRUWJDJHQRWLFHRURWKHULQVWUXPHQWRU

GRFXPHQWWKDWPD\RWKHUZLVHEHUHTXLUHGXQGHUWKHODZRUUHJXODWLRQRIDQ\MXULVGLFWLRQRUWKH

WDNLQJRIDQ\RWKHUDFWLRQ LQFOXGLQJIRUWKHDYRLGDQFHRIGRXEWHQWHULQJLQWRDQ\GHSRVLWDFFRXQW

FRQWURODJUHHPHQW WRYDOLGDWHRUSHUIHFW LQDFFRUGDQFHZLWKDSSOLFDEOHQRQEDQNUXSWF\ODZ WKH

/LHQ RU WR HQWLWOH 3XUFKDVHU WR WKH SULRULWLHV JUDQWHG KHUHLQ  1RWZLWKVWDQGLQJ WKH IRUHJRLQJ

3XUFKDVHULVDXWKRUL]HGWRDVLWLQLWVUHDVRQDEOHEXVLQHVVMXGJPHQWGHHPVSUXGHQWILOHDFRS\RI

WKLV,QWHULP2UGHUDQGDQ\ILQDQFLQJVWDWHPHQWPRUWJDJHQRWLFHDQGRWKHULQVWUXPHQWRUGRFXPHQW

WRSHUIHFWRURWKHUZLVHHYLGHQFHWKH/LHQLQDFFRUGDQFHZLWKDSSOLFDEOHQRQEDQNUXSWF\ODZDQG

HDFKVXFKILQDQFLQJVWDWHPHQWPRUWJDJHQRWLFHDQGRWKHULQVWUXPHQWRUGRFXPHQWVRILOHGVKDOO

EHGHHPHGWRKDYHEHHQILOHGRUUHFRUGHGDVRIWKHGDWHKHUHRI

            0RGLILFDWLRQV DQG $PHQGPHQWV ,Q DFFRUGDQFH ZLWK /RFDO 5XOH  G  WKH

'HEWRUVDQG3XUFKDVHUPD\HQWHULQWRPRGLILFDWLRQVDQGDPHQGPHQWVZLWKUHVSHFWWRWKH10&

)DFWRULQJ $JUHHPHQW ZLWKRXW WKH QHHG IRU IXUWKHU &RXUW DSSURYDO SURYLGHG WKDW D  VXFK

PRGLILFDWLRQV DQG DPHQGPHQWV DUH QRW PDWHULDO E  QRWLFH RI DQ\ SURSRVHG PRGLILFDWLRQ DQG

DPHQGPHQWLVILOHGZLWKWKH&RXUWDQG F VXFKQRWLFHLVSURYLGHGLQDGYDQFHWRFRXQVHOIRUWKH

3HWLWLRQLQJ &UHGLWRUV DQG DQ\ SDUW\ UHTXHVWLQJ QRWLFH RI DOO SURFHHGLQJV DQG WKH 8QLWHG 6WDWHV

7UXVWHH$Q\PDWHULDOPRGLILFDWLRQVDQGDPHQGPHQWVWRWKH 10&)DFWRULQJ$JUHHPHQWPDGH

GXULQJWKHSHQGHQF\RIWKH&DVHVVKDOOEHE\DSSOLFDWLRQILOHGZLWKWKH&RXUW

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GXULQJWKH7HUPRIWKH10&)DFWRULQJ$JUHHPHQWWKH'HEWRUVPD\QRWVHOOWUDQVIHUDVVLJQRU

HQFXPEHURUVHHNDXWKRULW\WRVHOOWUDQVIHUDVVLJQRUHQFXPEHUDQ\SHUVRQDOSURSHUW\WKDWZRXOG

RWKHUZLVHFRPHZLWKLQWKHGHILQLWLRQRI$FFRXQWDVVHWIRUWKLQWKH10&)DFWRULQJ$JUHHPHQWWR

RULQIDYRURIDQ\RWKHUSDUW\RWKHUWKDQ3XUFKDVHU

            0LVGLUHFWHG3D\PHQWVRQ$FFRXQWV

                 D     'HEWRUVVKDOOLPPHGLDWHO\WXUQRYHUWR3XUFKDVHUDQGXQWLOGRLQJVRKROG

LQWUXVWDQGVDIHNHHSLQJVHSDUDWHDQGDSDUWIURPWKH'HEWRUV¶RWKHUSURSHUW\DQGDVWKHVROHDQG

VHSDUDWHSURSHUW\RI3XUFKDVHUDQ\SD\PHQWRQDQ$FFRXQWSXUFKDVHGE\3XUFKDVHUZKHQHYHUDQ\

VXFKSD\PHQWZKHWKHUFDVKFKHFN SD\DEOHWRHLWKHURIWKH'HEWRUV3XUFKDVHURUERWK PRQH\

RUGHURURWKHUIRUPRISD\PHQWFRPHVLQWRWKH'HEWRUV¶SRVVHVVLRQDQGDOOJRRGVJLYLQJULVHWR

$FFRXQWV SXUFKDVHG E\ 3XUFKDVHU ZKLFK DUH UHWXUQHG RU UHMHFWHG E\ RU UHSRVVHVVHG IURP

&XVWRPHU V 

                 E     ,QWKHHYHQWDQ\RWKHUSDUW\UHFHLYHVDQ\SD\PHQWRQDQ$FFRXQWSXUFKDVHG

E\3XUFKDVHUVXFKSDUW\VKDOOLPPHGLDWHO\WXUQRYHUWR3XUFKDVHUDQGXQWLOGRLQJVRKROGLQWUXVW

DQG VDIHNHHSLQJ VHSDUDWH DQG DSDUW IURP VXFK RWKHU SDUW\¶V RWKHU SURSHUW\ DQG DV WKH VROH DQG

VHSDUDWH SURSHUW\ RI 3XUFKDVHU DQ\ VXFK SD\PHQW ZKHQHYHU DQ\ VXFK SD\PHQW ZKHWKHU FDVK

FKHFN SD\DEOHWRVXFKSDUW\HLWKHURIWKH'HEWRUV3XUFKDVHURUDQ\FRPELQDWLRQRIWKHIRUHJRLQJ 

PRQH\RUGHURURWKHUIRUPRISD\PHQWFRPHVLQWRVXFKRWKHUSDUW\¶VSRVVHVVLRQDQGDOOJRRGV

JLYLQJULVHWR$FFRXQWVSXUFKDVHGE\3XUFKDVHUZKLFKDUHUHWXUQHGRUUHMHFWHGE\RUUHSRVVHVVHG

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            3URFHHGVRI6XEVHTXHQW)LQDQFLQJ8QOHVV3XUFKDVHUH[SUHVVO\DJUHHVLQZULWLQJ

RWKHUZLVH WKH SURFHHGV RI DQ\ VXEVHTXHQW FUHGLW RU ILQDQFLQJ REWDLQHG E\ RU RQ EHKDOI RI WKH

'HEWRUV LQ WKH &DVHV RU DQ\ 6XFFHVVRU &DVH ZKHWKHU RU QRW DV SDUW RI D FRQILUPHG SODQ RI



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UHRUJDQL]DWLRQRUOLTXLGDWLRQVKDOOEHUHTXLUHGWREHILUVWSDLGWR3XUFKDVHUWRVDWLVI\DQGEHDSSOLHG

WRDOOXQSDLG2EOLJDWLRQVXQGHUWKH10&)DFWRULQJ$JUHHPHQW

            0DLQWHQDQFHRI&ROODWHUDO8QWLOWKHSD\PHQWLQIXOOLQFDVKRIDOO2EOLJDWLRQVWKH

'HEWRUVVKDOOLQVXUHWKH&ROODWHUDODVUHTXLUHGXQGHUWKH10&)DFWRULQJ$JUHHPHQW

            $SSOLFDWLRQRI3URFHHGVRI&ROODWHUDO3D\PHQWVDQG&ROOHFWLRQV$OOSD\PHQWVDQG

FROOHFWLRQVUHFHLYHGE\WKH'HEWRUVZLWKUHVSHFWWRDQ\$FFRXQWVDQGDOOSURFHHGVRI&ROODWHUDO

VKDOOEHDSSOLHGDVVHWIRUWKLQWKH10&)DFWRULQJ$JUHHPHQWDQGWKLV,QWHULP2UGHU

            7HUPLQDWLRQ (YHQW 7KH RFFXUUHQFH RI L  DQ (YHQW RI 'HIDXOW XQGHU WKH 10&

)DFWRULQJ$JUHHPHQWRU LL DQ\EUHDFKRIDSURYLVLRQRIWKLV,QWHULP2UGHURUWKH)XUWKHU,QWHULP

2UGHU DVHQWHUHG LQXULQJWRWKHEHQHILWRI3XUFKDVHUVKDOOFRQVWLWXWHDQHYHQWRIGHIDXOWXQGHUWKLV

,QWHULP2UGHU HDFKDQGFROOHFWLYHO\D³7HUPLQDWLRQ(YHQW´ ,PPHGLDWHO\XSRQWKHRFFXUUHQFH

DQG GXULQJ WKH FRQWLQXDQFH RI D 7HUPLQDWLRQ (YHQW 3XUFKDVHU PD\ LQ LWV VROH DQG DEVROXWH

GLVFUHWLRQLPPHGLDWHO\H[HUFLVHDQ\DQGDOORILWVULJKWVDQGUHPHGLHVXQGHUWKH10&)DFWRULQJ

$JUHHPHQWZLWKRXWIXUWKHURUGHURIWKH&RXUW:LWKLQQRPRUHWKDQRQH  EXVLQHVVGD\RIWKH

RFFXUUHQFHRID7HUPLQDWLRQ(YHQW3XUFKDVHUVKDOOVHUYHDQRWLFHRQWKH'HEWRUVDQGWKH86

7UXVWHH DGYLVLQJ RI WKH RFFXUUHQFH RI D 7HUPLQDWLRQ (YHQW DQG WKH UHPHG\ LHV  3XUFKDVHU KDV

HIIHFWHGRUZLOOEHLPPHGLDWHO\HIIHFWLQJ VXFKQRWLFHD³7HUPLQDWLRQ1RWLFH´DQGWKHGDWHRIDQ\

VXFKQRWLFHWKH³7HUPLQDWLRQ1RWLFH'DWH´ 7KH7HUPLQDWLRQ1RWLFHVKDOOEHVHUYHGE\HPDLO

RQ WKH 'HEWRUV WKHLU FRXQVHO RI UHFRUG LQ WKH &DVHV FRXQVHO WR WKH 3HWLWLRQLQJ &UHGLWRUV DQG

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            *RRG)DLWKXQGHU%DQNUXSWF\&RGH6HFWLRQ1R0RGLILFDWLRQRU6WD\RIWKLV

,QWHULP2UGHU3XUFKDVHUKDVDFWHGLQ JRRGIDLWKLQFRQQHFWLRQZLWKWKLV,QWHULP2UGHUDQGLWV

UHOLDQFHRQWKLV,QWHULP2UGHULVLQJRRGIDLWK%DVHGRQWKHILQGLQJVVHWIRUWKLQWKLV,QWHULP2UGHU

DQGWKHUHFRUGPDGHGXULQJWKH,QWHULP+HDULQJDQGLQDFFRUGDQFHZLWK%DQNUXSWF\&RGH6HFWLRQ

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 H RIWKH%DQNUXSWF\&RGHLQWKHHYHQWDQ\RUDOORIWKHSURYLVLRQVRIWKLV,QWHULP2UGHUDUH

KHUHDIWHUPRGLILHGDPHQGHGRUYDFDWHGE\DVXEVHTXHQWRUGHURIWKH&RXUWRUDQ\RWKHUFRXUWRI

FRPSHWHQW MXULVGLFWLRQ 3XUFKDVHU LV HQWLWOHG WR WKH SURWHFWLRQV SURYLGHG LQ %DQNUXSWF\ &RGH

6HFWLRQ  H  $Q\ VXFK PRGLILFDWLRQ DPHQGPHQW RU YDFDWXU VKDOO QRW DIIHFW WKH YDOLGLW\ DQG

HQIRUFHDELOLW\ RI WKH 2EOLJDWLRQV RU DQ\ OLHQ FODLP RU SULRULW\ DXWKRUL]HG RU FUHDWHG KHUHE\

SURYLGHGWKDWWKLV,QWHULP2UGHUZDVQRWVWD\HGE\FRXUWRUGHUDIWHUGXHQRWLFHKDGEHHQJLYHQWR

3XUFKDVHU DW WKH WLPH VXFK REOLJDWLRQV ZHUH LQFXUUHG RU WKH OLHQV FODLPV RU SULRULWLHV ZHUH

DXWKRUL]HGDQGRUFUHDWHG$Q\OLHQVRUFODLPVJUDQWHGWR3XUFKDVHUKHUHXQGHUDULVLQJSULRUWRWKH

HIIHFWLYH GDWH RI DQ\ VXFK PRGLILFDWLRQ DPHQGPHQW RU YDFDWXU RI WKLV ,QWHULP 2UGHU VKDOO EH

JRYHUQHGLQDOOUHVSHFWVE\WKHRULJLQDOSURYLVLRQVRIWKLV,QWHULP2UGHULQFOXGLQJHQWLWOHPHQWWR

DOOULJKWVUHPHGLHVSULYLOHJHVDQGEHQHILWVJUDQWHGKHUHLQSURYLGHGWKDWWKH,QWHULP2UGHUZDV

QRWVWD\HGE\FRXUWRUGHUDIWHUGXHQRWLFHKDGEHHQJLYHQWR3XUFKDVHUDWWKHWLPHWKHREOLJDWLRQV

ZHUHLQFXUUHGRUWKHOLHQVFODLPVRUSULRULWLHVZHUHDXWKRUL]HGDQGRUFUHDWHG

            3URRIV RI &ODLP 1RWZLWKVWDQGLQJ DQ\ SURYLVLRQ LQ WKH %DQNUXSWF\ &RGH WKH

%DQNUXSWF\5XOHVWKH/RFDO5XOHVRURWKHUZLVH3XUFKDVHUVKDOOQRWEHUHTXLUHGWRILOHSURRIVRI

FODLPRUUHTXHVWVIRUDSSURYDORIDGPLQLVWUDWLYHH[SHQVHVLQWKH&DVHVRUDQ\6XFFHVVRU&DVH7KH

SURYLVLRQV RI WKLV ,QWHULP 2UGHU UHODWLQJ WR WKH 2EOLJDWLRQV WKH /LHQ DQG WKH 6XSHUSULRULW\

$GPLQLVWUDWLYH ([SHQVH &ODLP VKDOO FRQVWLWXWH D WLPHO\ ILOHG SURRI RI FODLP DQG UHTXHVW IRU

SD\PHQWRIDGPLQLVWUDWLYHH[SHQVH

            5LJKWV RI $FFHVV DQG ,QIRUPDWLRQ :LWKRXW OLPLWLQJ WKH ULJKWV RI DFFHVV DQG

LQIRUPDWLRQDIIRUGHG3XUFKDVHUXQGHUWKH10&)DFWRULQJ$JUHHPHQWWKH'HEWRUVVKDOOEHDQG

KHUHE\DUHUHTXLUHGWRDIIRUGUHSUHVHQWDWLYHVDJHQWVDQGRUHPSOR\HHVRI3XUFKDVHUUHDVRQDEOH

DFFHVVWRWKH'HEWRUV¶SUHPLVHVDQGWKHLUERRNVDQGUHFRUGVLQDFFRUGDQFHZLWKWKH10&)DFWRULQJ

$JUHHPHQWDQGVKDOOUHDVRQDEO\ FRRSHUDWHFRQVXOWZLWK DQGSURYLGHWR VXFKSHUVRQVDOOVXFK

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LQIRUPDWLRQDVPD\EHUHDVRQDEO\UHTXHVWHG,QDGGLWLRQWKH'HEWRUVDXWKRUL]HWKHLULQGHSHQGHQW

FHUWLILHGSXEOLFDFFRXQWDQWVILQDQFLDODGYLVRUVDQGDQ\FRQVXOWDQWVWRFRRSHUDWHFRQVXOWZLWKDQG

SURYLGH WR 3XUFKDVHU DOO VXFK LQIRUPDWLRQ DV PD\ EH UHDVRQDEO\ UHTXHVWHG ZLWK UHVSHFW WR WKH

EXVLQHVVUHVXOWVRIRSHUDWLRQVDQGILQDQFLDOFRQGLWLRQRIWKH'HEWRUV

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3URFHHGVIURP3XUFKDVHU¶VSXUFKDVHRIWKH$FFRXQWVDQG&ROODWHUDOPD\QRWEHXVHG D LQ

FRQQHFWLRQ ZLWK RU WR ILQDQFH LQ DQ\ ZD\ DQ\ DFWLRQ VXLW DUELWUDWLRQ SURFHHGLQJ DSSOLFDWLRQ

PRWLRQRURWKHUOLWLJDWLRQRIDQ\W\SH L DGYHUVHWR3XUFKDVHURULWVULJKWVDQGUHPHGLHVXQGHUWKH

10& )DFWRULQJ $JUHHPHQW RU WKLV ,QWHULP 2UGHU RU WKH )XUWKHU ,QWHULP 2UGHU DV HQWHUHG 

LQFOXGLQJ ZLWKRXW OLPLWDWLRQ IRU WKH SD\PHQW RI DQ\ VHUYLFHV UHQGHUHG E\ WKH SURIHVVLRQDOV

UHWDLQHG E\ WKH 'HEWRUV RU DQ\ RIILFLDO FRPPLWWHH WKDW PD\ EH DSSRLQWHG LQ WKHVH &DVHV LQ

FRQQHFWLRQ ZLWK WKH DVVHUWLRQ RI RU MRLQGHU LQ DQ\ FODLP FRXQWHUFODLP DFWLRQ SURFHHGLQJ

DSSOLFDWLRQPRWLRQREMHFWLRQGHIHQVHRURWKHUFRQWHVWHGPDWWHUWKHSXUSRVHRIZKLFKLVWRVHHN

RUWKHUHVXOWRIZKLFKZRXOGEHWRREWDLQDQ\RUGHUMXGJPHQWGHWHUPLQDWLRQGHFODUDWLRQRUVLPLODU

UHOLHI LL LQYDOLGDWLQJREMHFWLQJWRVHWWLQJDVLGHDYRLGLQJRUVXERUGLQDWLQJLQZKROHRULQSDUW

WKH 2EOLJDWLRQV DQ\ ULJKW RI 3XUFKDVHU XQGHU WKH 10& )DFWRULQJ $JUHHPHQW WKH /LHQ RU WKH

6XSHUSULRULW\ $GPLQLVWUDWLYH ([SHQVH &ODLP LLL  IRU PRQHWDU\ LQMXQFWLYH RU RWKHU DIILUPDWLYH

UHOLHIDJDLQVW3XUFKDVHURU3XUFKDVHU¶VHQIRUFHPHQWRIDQ\RILWVULJKWVXQGHUWKH10&)DFWRULQJ

$JUHHPHQWRUZLWKUHVSHFWWRWKH/LHQWKH&ROODWHUDORUWKH6XSHUSULRULW\$GPLQLVWUDWLYH([SHQVH

&ODLP LY SUHYHQWLQJKLQGHULQJRURWKHUZLVHGHOD\LQJWKHH[HUFLVHE\3XUFKDVHURIDQ\ULJKWV

DQGUHPHGLHVXQGHUWKLV,QWHULP2UGHUWKH10&)DFWRULQJ$JUHHPHQWRUDSSOLFDEOHODZRUWKH

HQIRUFHPHQW RU UHDOL]DWLRQ ZKHWKHU E\ IRUHFORVXUH FUHGLW ELG IXUWKHU RUGHU RI WKH &RXUW RU

RWKHUZLVH E\3XUFKDVHUXSRQDQ\RIWKH&ROODWHUDORUWKH6XSHUSULRULW\$GPLQLVWUDWLYH([SHQVH

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OLTXLGDWLRQRUUHRUJDQL]DWLRQLQWKH&DVHVZLWKRXWWKHSULRUZULWWHQFRQVHQWRI3XUFKDVHU F WR

PDNHDQ\SD\PHQWLQVHWWOHPHQWRIDQ\FODLPDFWLRQRUSURFHHGLQJEHIRUHDQ\FRXUWDUELWUDWRURU

RWKHUJRYHUQPHQWDOERG\ZLWKRXWWKHSULRUZULWWHQFRQVHQWRI3XUFKDVHU G WRSD\DQ\IHHVRU

VLPLODU DPRXQWV WR DQ\ SHUVRQ ZKR KDV SURSRVHG RU PD\ SURSRVH WR SXUFKDVH LQWHUHVWV LQ WKH

'HEWRUV LQFOXGLQJVRFDOOHG³7RSSLQJ)HHV´ ZLWKRXWWKHSULRUZULWWHQFRQVHQWRI3XUFKDVHU H 

REMHFWLQJWRFRQWHVWLQJRULQWHUIHULQJZLWKLQDQ\ZD\3XUFKDVHU¶VHQIRUFHPHQWRUUHDOL]DWLRQ

XSRQDQ\RIWKH&ROODWHUDORUWKH6XSHUSULRULW\$GPLQLVWUDWLYH([SHQVH&ODLPRQFHD7HUPLQDWLRQ

(YHQW KDV RFFXUUHG H[FHSW DV SURYLGHG IRU LQ WKLV ,QWHULP 2UGHU RU )XUWKHU ,QWHULP 2UGHU DV

HQWHUHG RUVHHNLQJWRSUHYHQW3XUFKDVHUIURPFUHGLWELGGLQJLQFRQQHFWLRQZLWKDQ\SURSRVHGSODQ

RIUHRUJDQL]DWLRQRUOLTXLGDWLRQRUDQ\SURSRVHGWUDQVDFWLRQSXUVXDQWWR%DQNUXSWF\&RGH6HFWLRQ

 I XVLQJRUVHHNLQJWRXVHDQ\LQVXUDQFHSURFHHGVFRQVWLWXWLQJ&ROODWHUDOZLWKRXWWKHFRQVHQW

RI3XUFKDVHU J LQFXUULQJDGGLWLRQDOLQGHEWHGQHVVRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVVZLWKRXW

WKHSULRUFRQVHQWRI3XUFKDVHU K REMHFWLQJWRRUFKDOOHQJLQJLQDQ\ZD\WKHFODLPVULJKWVOLHQV

RULQWHUHVWVKHOGE\RURQEHKDOIRI3XUFKDVHUXQGHUWKH10&)DFWRULQJ$JUHHPHQWLQFOXGLQJEXW

QRWOLPLWHGWRZLWKUHVSHFWWRWKH/LHQWKH&ROODWHUDORUWKH6XSHUSULRULW\$GPLQLVWUDWLYH([SHQVH

&ODLPRU L SURVHFXWLQJDQREMHFWLRQWRFRQWHVWLQJLQDQ\PDQQHURUUDLVLQJDQ\GHIHQVHVWRWKH

YDOLGLW\H[WHQWDPRXQWSHUIHFWLRQSULRULW\RUHQIRUFHDELOLW\RIDQ\RIWKH2EOLJDWLRQVRUWKH/LHQ

RUWKH6XSHUSULRULW\$GPLQLVWUDWLYH([SHQVH&ODLPRUDQ\RWKHUULJKWVRULQWHUHVWVRI3XUFKDVHU

            3D\PHQWRI&DVH3URIHVVLRQDOV&RPSHQVDWLRQ1RWKLQJKHUHLQVKDOOEHFRQVWUXHG

DV D FRQVHQW E\ 3XUFKDVHU WR WKH DOORZDQFH RI DQ\ SURIHVVLRQDO IHHV RU H[SHQVHV RI DQ\

SURIHVVLRQDOVUHWDLQHGE\WKH'HEWRUVRUDQ\ RIILFLDOFRPPLWWHHWKDWPD\EHDSSRLQWHGLQWKHVH

&DVHVSXUVXDQWWRDQRUGHUHQWHUHGLQWKH&DVHV FROOHFWLYHO\WKH³&DVH3URIHVVLRQDOV´ RUVKDOO

DIIHFWWKHULJKWRI3XUFKDVHULQLWVUHDVRQDEOHEXVLQHVVMXGJPHQWWRREMHFWWRWKHDOORZDQFHDQG

SD\PHQW RI VXFK IHHV DQG H[SHQVHV 6R ORQJ DV QR 7HUPLQDWLRQ (YHQW KDV RFFXUUHG DQG LV

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FRQWLQXLQJWKH'HEWRUVVKDOOEHSHUPLWWHGWRSD\VXFKIHHVDQGH[SHQVHVDOORZHGDQGSD\DEOHE\

RUGHU WKDWKDVQRWEHHQYDFDWHGRUVWD\HGXQOHVVWKHVWD\KDVEHHQYDFDWHG XQGHUVHFWLRQV

DQGRIWKH%DQNUXSWF\&RGHDVWKHVDPHPD\EHGXHDQGSD\DEOHVROHO\WRWKHH[WHQWVHWIRUWK

LQWKH%XGJHWDQGQRWWRH[FHHGWKHDPRXQWVVHWIRUWKLQWKH%XGJHW

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GRHVQRWFUHDWHDQ\ULJKWVIRUWKHEHQHILWRIDQ\WKLUGSDUW\FUHGLWRUHTXLW\KROGHUDFFRXQWGHEWRU

RUDQ\GLUHFWLQGLUHFWRULQFLGHQWDOEHQHILFLDU\

            6HFWLRQ F &ODLPV8SRQHQWU\RIWKLV,QWHULP2UGHUQRFRVWVRUH[SHQVHVRI

DGPLQLVWUDWLRQ ZKLFK KDYH EHHQ RU PD\ EH LQFXUUHG LQ WKH &DVHV DW DQ\ WLPH VKDOO EH FKDUJHG

DJDLQVW3XUFKDVHURUWKH&ROODWHUDOSXUVXDQWWRVHFWLRQVRU F RIWKH%DQNUXSWF\&RGHDQG

QR FRQVHQW IURP 3XUFKDVHU WR WKH FRQWUDU\ VKDOO EH LPSOLHG IURP DQ\ RWKHU DFWLRQ LQDFWLRQ RU

DFTXLHVFHQFHE\3XUFKDVHU

            1R 0DUVKDOLQJ$SSOLFDWLRQV RI 3URFHHGV 8SRQ HQWU\ RI WKLV ,QWHULP 2UGHU

3XUFKDVHU VKDOO QRW EH VXEMHFW WR WKH HTXLWDEOH GRFWULQH RI ³PDUVKDOLQJ´ RU DQ\ RWKHU VLPLODU

GRFWULQHZLWKUHVSHFWWRDQ\RIWKH&ROODWHUDO

            6HFWLRQ E 6XEMHFWWRWKHHQWU\RIWKLV,QWHULP2UGHUWKH³HTXLWLHVRIWKHFDVH´

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WKDWQRQHRIWKH2EOLJDWLRQVRUWKH/LHQVKDOOEHGLVFKDUJHGE\WKHHQWU\RIDQRUGHUFRQILUPLQJ

DQ\SODQRIUHRUJDQL]DWLRQRUOLTXLGDWLRQQRWZLWKVWDQGLQJWKHSURYLVLRQVRIVHFWLRQ G RIWKH

%DQNUXSWF\&RGHXQOHVVWKH2EOLJDWLRQVKDYHEHHQSDLGLQIXOOLQFDVKRQRUEHIRUHWKHHIIHFWLYH

GDWH RI D FRQILUPHG SODQ  ([FHSW DV RWKHUZLVH DJUHHG WR E\ 3XUFKDVHU WKH 'HEWRUV VKDOO QRW

SURSRVHRUVXSSRUWDQ\SODQRUVDOHRIDOORUVXEVWDQWLDOO\DOORIWKH'HEWRUV¶DVVHWVRUHQWU\RIDQ\

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FRQILUPDWLRQRUGHURUVDOHRUGHUWKDWLVQRWFRQGLWLRQHGXSRQWKHSD\PHQWLQIXOOLQFDVKRIDOO

2EOLJDWLRQV7KH6XSHUSULRULW\$GPLQLVWUDWLYH([SHQVH&ODLPDQGWKH/LHQVKDOOQRWEHDIIHFWHG

LQDQ\PDQQHUE\WKHHQWU\RIDQRUGHUFRQILUPLQJDSODQLQWKH&DVHVRUDQ\6XFFHVVRU&DVH,Q

WKHHYHQWWKDW'HEWRUVDQG3XUFKDVHUDJUHHWRFRQWLQXHDEXVLQHVVDUUDQJHPHQWDVSDUWRIDSODQRI

UHRUJDQL]DWLRQ DIWHU WKH HIIHFWLYH GDWH RI FRQILUPDWLRQ WKHUHRI ZKLFK VKDOO EH VXEMHFW WR HDFK

SDUW\¶VVROHDQGDEVROXWHGLVFUHWLRQ 'HEWRUVDQG3XUFKDVHUDFNQRZOHGJHDQGDJUHHWKDWDQ\VXFK

DUUDQJHPHQW VKDOO EH VXEMHFW WR WKH H[HFXWLRQ DQG GHOLYHU\ RI D QHZ DJUHHPHQW DQG UHODWHG

GRFXPHQWVUHODWLQJWKHUHWR

            5LJKWV3UHVHUYHGDQG6WDQGLQJ1RWZLWKVWDQGLQJDQ\WKLQJKHUHLQWRWKHFRQWUDU\

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RULPSOLFLWO\ D 3XUFKDVHU¶VULJKWVWRVHHNDQ\RWKHURUVXSSOHPHQWDOUHOLHIZLWKUHVSHFWWRWKH

'HEWRUVRUWKH'HEWRUV¶HVWDWHV E DQ\RIWKHULJKWVRI3XUFKDVHUXQGHUWKH%DQNUXSWF\&RGHRU

XQGHUQRQEDQNUXSWF\ODZ2WKHUWKDQDVH[SUHVVO\VHWIRUWKLQWKLV,QWHULP2UGHUDQ\RWKHUULJKWV

FODLPVRUSULYLOHJHV ZKHWKHUOHJDOHTXLWDEOHRURWKHUZLVH RI3XUFKDVHUDUHSUHVHUYHG'XULQJ

WKH 7HUP RI WKH 10& )DFWRULQJ $JUHHPHQW DQG ZKLOH WKHUH UHPDLQV DQ\ XQSDLG 2EOLJDWLRQV

WKHUHXQGHUDQGZKLOHWKH&DVHVRUDQ\6XFFHVVRU&DVHDUHVWLOOSHQGLQJSXUVXDQWWR%DQNUXSWF\

&RGH6HFWLRQ E ZLWKRXWREMHFWLRQRUFRQWHVWDWLRQ3XUFKDVHUVKDOOKDYHVWDQGLQJDQGPD\

UDLVHDQGPD\DSSHDUDQGEHKHDUGRQDQ\LVVXHLQWKH&DVHVRUDQ\6XFFHVVRU&DVH

            1R :DLYHU E\ )DLOXUH WR 6HHN 5HOLHI 7KH IDLOXUH RI 3XUFKDVHU WR VHHN UHOLHI RU

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)DFWRULQJ$JUHHPHQWRUDSSOLFDEOHODZDVWKHFDVHPD\EHVKDOOQRWFRQVWLWXWHDZDLYHURIDQ\RI

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            %LQGLQJ (IIHFW RI ,QWHULP 2UGHU  ,PPHGLDWHO\ XSRQ HQWU\ RI WKLV ,QWHULP

2UGHU QRWZLWKVWDQGLQJDQ\DSSOLFDEOHODZRUUXOHWRWKHFRQWUDU\ WKHWHUPVDQGSURYLVLRQVRIWKLV

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,QWHULP2UGHUVKDOOEHFRPHYDOLGDQGELQGLQJRQWKH'HEWRUVWKH'HEWRUV¶HVWDWHVDOOFUHGLWRUV

DQGHTXLW\KROGHUVRIWKH'HEWRUVDQ\RIILFLDOFRPPLWWHHDSSRLQWHGLQWKH&DVHVWKH867UXVWHH

DQGDOORWKHUSDUWLHVLQLQWHUHVWDQGWKHLUUHVSHFWLYHVXFFHVVRUVDQGDVVLJQVLQFOXGLQJDQ\WUXVWHH

RURWKHUILGXFLDU\KHUHDIWHUDSSRLQWHGLQWKH&DVHVDQ\6XFFHVVRU&DVHRUXSRQGLVPLVVDORIWKH

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            1R0RGLILFDWLRQRI,QWHULP2UGHU7KH'HEWRUVLUUHYRFDEO\ZDLYHWKHULJKWWRVHHN

DQGVKDOOQRW VHHNRUFRQVHQW WR GLUHFWO\RULQGLUHFWO\ D ZLWKRXWWKHSULRUZULWWHQFRQVHQW RI

3XUFKDVHU L  DQ\ PRGLILFDWLRQ VWD\ YDFDWXU RU DPHQGPHQW WR WKLV ,QWHULP 2UGHU RU LL  DQ\

DGPLQLVWUDWLYHH[SHQVHFODLPRUXQVHFXUHGFODLPDJDLQVWWKH'HEWRUV QRZH[LVWLQJRUKHUHDIWHU

DULVLQJRIDQ\NLQGRUQDWXUHZKDWVRHYHULQFOXGLQJZLWKRXWOLPLWDWLRQDQ\DGPLQLVWUDWLYHH[SHQVH

RIWKHNLQGVSHFLILHGLQ%DQNUXSWF\&RGH6HFWLRQV E  D RU E LQWKH&DVHVRUDQ\

6XFFHVVRU&DVHHTXDORUVXSHULRUWRWKH6XSHUSULRULW\$GPLQLVWUDWLYH([SHQVH&ODLP E ZLWKRXW

WKHSULRUZULWWHQFRQVHQWRI3XUFKDVHUDQ\OLHQRUVHFXULW\LQWHUHVWRQDQ\RIWKH&ROODWHUDOZLWK

SULRULW\HTXDORUVXSHULRUWRWKH/LHQ7KH'HEWRUVLUUHYRFDEO\ZDLYHDQ\ULJKWWRVHHNDQ\PDWHULDO

DPHQGPHQWPRGLILFDWLRQRUH[WHQVLRQRIWKLV,QWHULP2UGHUZLWKRXWWKHSULRUZULWWHQFRQVHQWDV

SURYLGHGLQWKHIRUHJRLQJRI3XUFKDVHUDQGQRVXFKFRQVHQWVKDOOEHLPSOLHGE\DQ\RWKHUDFWLRQ

LQDFWLRQRUDFTXLHVFHQFHRI3XUFKDVHU

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FRQGLWLRQVRIWKH10&)DFWRULQJ$JUHHPHQWRUWKLV,QWHULP2UGHUWKHSURYLVLRQVRIWKLV,QWHULP

2UGHUVKDOOJRYHUQDQGFRQWURO

            6XUYLYDO7KHSURYLVLRQVRIWKLV,QWHULP2UGHUDQGDQ\DFWLRQVWDNHQSXUVXDQWKHUHWR

VKDOOVXUYLYHHQWU\RIDQ\RUGHUZKLFKPD\EHHQWHUHG D FRQILUPLQJDQ\SODQRIUHRUJDQL]DWLRQ

RU OLTXLGDWLRQ LQ WKH &DVHV E  FRQYHUWLQJ DQ\ RI WKH &DVHV WR D FDVH XQGHU &KDSWHU  RI WKH

%DQNUXSWF\&RGH F GLVPLVVLQJWKH&DVHVRUDQ\6XFFHVVRU&DVHRU G SXUVXDQWWRZKLFKWKH

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&RXUWDEVWDLQVIURPKHDULQJWKH&DVHVRUDQ\6XFFHVVRU&DVH7KHWHUPVDQGSURYLVLRQVRIWKLV

,QWHULP 2UGHU LQFOXGLQJ WKH FODLPV OLHQV VHFXULW\ LQWHUHVWV DQG RWKHU SURWHFWLRQV JUDQWHG WR

3XUFKDVHUSXUVXDQWWRWKLV,QWHULP2UGHUDQGRUWKH10&)DFWRULQJ$JUHHPHQWQRWZLWKVWDQGLQJ

WKH HQWU\ RI DQ\ VXFK RUGHU VKDOO FRQWLQXH LQ WKH &DVHV LQ DQ\ 6XFFHVVRU &DVH RU IROORZLQJ

GLVPLVVDORIWKH&DVHVRUDQ\6XFFHVVRU&DVHDQGVKDOOPDLQWDLQWKHLUSULRULW\DVSURYLGHGE\WKLV

,QWHULP2UGHUXQWLODOO2EOLJDWLRQVKDYHEHHQSDLGLQIXOOLQFDVKWRWKH3XUFKDVHU

            )XUWKHU ,QWHULP +HDULQJ 7KH )XUWKHU ,QWHULP +HDULQJ WR FRQVLGHU HQWU\ RI WKH

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6WDFH\/0HLVHO8QLWHG6WDWHV%DQNUXSWF\-XGJHUG)ORRU&RXUWURRP$DWWKH8QLWHG6WDWHV

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VHUYHE\8QLWHG6WDWHVPDLOILUVWFODVVSRVWDJHSUHSDLGDFRS\RIWKH0RWLRQDQGWKLV,QWHULP

2UGHUXSRQ1RUWK0LOO&DSLWDO//&¶VFRXQVHOFRXQVHOWRWKH3HWLWLRQLQJ&UHGLWRUVWKH2IILFHRI

WKH 8QLWHG 6WDWHV 7UXVWHH DQ\ DGGLWLRQDO VHFXUHG SDUWLHV DQG DOO SHUVRQV RU HQWLWLHV WKDW KDYH

UHTXHVWHGQRWLFHLQWKH,QYROXQWDU\&KDSWHU&DVHV

            2EMHFWLRQ'HDGOLQH2EMHFWLRQVLIDQ\WRWKHUHOLHIVRXJKWLQWKH0RWLRQDQGHQWU\

RIWKH)XUWKHU,QWHULP2UGHUVKDOOEHLQZULWLQJVKDOOVHWIRUWKZLWKSDUWLFXODULW\WKHJURXQGVIRU

VXFK REMHFWLRQV RU RWKHU VWDWHPHQW RI SRVLWLRQ VKDOO EH ILOHG ZLWK WKH FOHUN RI WKH &RXUW LQ

DFFRUGDQFHZLWKWKH/RFDO5XOHVDQGWKH&RXUW¶VJXLGHOLQHVE\0D\DQGVKDOOEHVHUYHG

XSRQ L SURSRVHGFRXQVHOWRWKH'HEWRUV/DZ2IILFHVRI.HQQHWK /%DXP0DLQ6WUHHW

+DFNHQVDFN        1HZ       -HUVH\              $WWQ   .HQQHWK        /     %DXP       (VT

 NEDXP#NHQEDXPGHEWVROXWLRQVFRP  LL FRXQVHOWR3XUFKDVHU2NLQ+ROODQGHU//&*OHQSRLQWH

&HQWUH:HVW6XLWHQG)ORRU)UDQN:%XUU%OYG7HDQHFN1-$WWQ3DXO6

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+ROODQGHU (VT SKROODQGHU#RNLQKROODQGHUFRP  LLL  FRXQVHO WR WKH 3HWLWLRQLQJ &UHGLWRUV

6WUDGOH\ 5RQRQ 6WHYHQV  <RXQJ //3  3DUN $YHQXH 6XLWH 1HZ <RUN 1HZ <RUN

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7UXVWHH2IILFHRIWKH8QLWHG6WDWHV7UXVWHH1HZDUN&HQWHU1HZDUN1HZ-HUVH\$WWQ

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           (IIHFWRIWKLV,QWHULP2UGHU7KLV,QWHULP2UGHUVKDOOFRQVWLWXWHILQGLQJVRIIDFWDQG

FRQFOXVLRQV RI ODZ SXUVXDQW WR %DQNUXSWF\ 5XOH  DQG VKDOO WDNH HIIHFW LPPHGLDWHO\

QRWZLWKVWDQGLQJDQ\WKLQJWRWKHFRQWUDU\SURVFULEHGE\DSSOLFDEOHODZ

           5HWHQWLRQRI-XULVGLFWLRQ7KH&RXUWKDVDQGZLOOUHWDLQMXULVGLFWLRQWRHQIRUFHWKLV

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